Case 9:17-cv-81178-DMM Document 177 Entered on FLSD Docket 06/26/2018 Page 1 of 2




                              UNITED STATES DISTRICT CO URT
                              SO U TH ERN D ISTRICT O F FLOR IDA
                             Case No.:17-cv-81178-M ID DLEBRO O K S

   N ATIONA L LABORATO RIES,LLC,
   THE LUKEN S IN STITUTE,LLC ,
   TREA SURE COA ST RECOV ERY,LLC,

         Plaintiffs,
                                                           UN SEA LED O RDER


   UN ITED H EA LTHCARE GRO UP,IN C.,
   UN ITED HEA LTHCARE SERV ICES,INC .,
   UN ITED HEA LTHCARE IN SURAN CE
   COM PAN Y,UN ITED HEALTHCA RE
   SERVICES LLC,O PTU M ,and
   GO LDEN RULE IN SURAN CE COM PAN Y ,

         Defendants.


                       OR DER G R ANTIN G UNO PPO SED M O TION S TO SEAL

         TH IS CA USE com es bcfore the Courton three unopposed m otions to subm itfilings under

   seal.(DE 148,157,168).Forrcasonsstatedbelow,Defendants'Motionsarcgranted.
         itunless otherwise providcd by law,Courtrule orCourtorder,proceedings in the United

   StatesDistrictCourtarepublicandCourtfilingsaremattersofpublicrecord.''S.D.Fla.L.R.5.4(a).
   ltisclearly established thatthe generalpublic possessesa common-law rightto accessjudicial
   records and thatjudicialrecordsare presumcd to be public documents. See Nixon v.Warner
   Commc'
        ns,lnc.,435 U.S.589,597(1978);seealso Chicago TribuneCo.p.Bridgestone/Firestone,
   lnc.,263 F.3d 1304,131l(11thCir.2001). Judicialrecordsarepresumedtobepublicdocuments
   becauseikrojnceamatterisbroughtbeforeacoul'tforresolution,itisno longersolely theparties'
   case,butalso the public's case.'' See Brown v.Advantage Eng'
                                                              g,lnc.,960 F.2d 1013,l016 (1lth
   Cir.l992),ûk-f'hecommon law rightofaccessmaybeovercomebyashowing ofgoodcause,which
   requires dbalancgingjthe assertcd rightofaccessagainstthe otherparty'sinterestin keeping the
Case 9:17-cv-81178-DMM Document 177 Entered on FLSD Docket 06/26/2018 Page 2 of 2



   information confidential.''' Romero v.Drummond Co.,Inc.,480 F.3d 1234,1246 (11th Cir.2007)

   (quotingChicagoTribune,263F.3dat1309).
           Defendants m ove to f5le under seal the follow ing:an Unredacted M otion for Expedited ln

   Camera Review,aNon-Redacted Amendcd Counterclaim,certain exhibitsattached to theAmendcd

   Counterclaim ,and a transcript and video of deposition of Chuck Cam pagna, which is apparently

   relevantto its M otion forExpedited In Cam era Review . D efendants argue thateach ofthese fslings

   contain individually identifiable health information protected by HIPAA. l f5nd thatDefendants'

   interestin keeping thissensitive inform ation confidentialoutweighsthe rightofaccess, A ccordingly,

   itis hereby
           O RDERED A ND AD JU DG ED that:

                 Defendants'M otions(DE 148)(DE 157)(DE 168)areGRANTED.
                 Defendantsmay file an unredacted M otion forExpeditedIn Camera Revicw,which will

                 be keptunderSEA L PERM A NEN TLY .
                 Defendants m ay file a N on-lkedacted Am ended Counterclaim as well as the exhibits

                 identifiedinitsMotion(DE 157)underSEAL PERM ANENTLY.
                 Defendantsm ay filc the transcript and video ofdeposition of Chuck Campagna under

                 SEAL PER M ANENTLY .

           DONE AND ORDERED in ChambersatW estPalm Beach,Fl ' ,this                      day ofJune,

   2018.




                                                        D     D M .M IDD LEBROO KS
                                                        UNITED STATES DISTRICT JUDG E
   Copiesto:CounselofRecord
